           Case 2:07-cr-00201-KJM Document 35 Filed 06/22/07 Page 1 of 2


1    DANIEL J. BRODERICK
     Federal Defender
2    DENNIS S. WAKS, BAR #142581
     RACHELLE BARBOUR, BAR # 185395
3    Assistant Federal Defenders
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5

6

7
                    IN THE UNITED STATES DISTRICT COURT
8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,     )         Cr.S. 07-0201-FCD
11                                 )
                    Plaintiff,     )
12                                 )
          v.                       )         STIPULATION AND ORDER TO
13                                 )         EXTEND TIME FOR STATUS
     ROBERT ALLEN BOHANNA and      )         CONFERENCE AND EXCLUDE TIME
14   NORMAN GRESHAM III,           )
                                   )         DATE: July 23, 2007
15                  Defendant.     )         Time: 10:00 a.m.
     ______________________________)         Judge: Frank C. Damrell Jr.
16

17

18        Defendant ROBERT BOHANNA, by and through his counsel, DENNIS
19   S. WAKS, Supervising Assistant Federal Defender, defendant NORMAN
20   GRESHAM III, by and through his counsel, CHRISTOPHER HAYDN-MYER,
21   and the United States Government, by and through its counsel,
22   WILLIAM S. WONG, Assistant United States Attorney, hereby
23   stipulate that the status conference set for June 25, 2007 be
24   rescheduled for Monday, July 23, 2007 at 10:00 a.m. for both
25   defendants.
26        This continuance is being requested because both defense
27   counsel require additional time to review discovery, discuss the
28   case with the government, and pursue investigation.

                                         1
              Case 2:07-cr-00201-KJM Document 35 Filed 06/22/07 Page 2 of 2


1           The parties submit that the ends of justice are served by
2    the Court excluding such time, so that they may have reasonable
3    time necessary for effective preparation, taking into account the
4    exercise of due diligence.        18 U.S.C. § 3161(h)(8)(B)(iv) (Local
5    T4).    In particular, the time is required so that the parties can
6    discuss a proposed disposition and conduct investigation.
7

8 DATE: June 22, 2007                          Respectfully Submitted,
9                                              McGREGOR W. SCOTT
                                               United States Attorney
10

11                                              /s/ Dennis S. Waks for
                                               WILLIAM S. WONG
12                                             Assistant U.S. Attorney
13

14
     DATED: June 22, 2007                      /s/ Rachelle Barbour
15                                             Rachelle Barbour
                                               Assistant Federal Defender
16

17 DATED: June 22, 2007                        /s/ Dennis S. Waks
                                               Supervising Assist. Fed.
18                                             Defender
                                               For ROBERT BOHANNA
19

20 DATED: June 22, 2007                        /s/ Christopher Haydn-Myer
                                               CHRISTOPHER HAYDN-MYER
21                                             Attorney for
                                               NORMAN GRESHAM, III
22

23          IT IS SO ORDERED.
24
     Dated: June 22, 2007
25

26
                                      _______________________________________
27                                    FRANK C. DAMRELL, JR.
                                      UNITED STATES DISTRICT JUDGE
28

                                           2
